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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION

MEMBERS HERITAGE CREDIT UNION      )                       Case No. 5:21-cv-00207-CHB
                                   )                         ELECTRONICALLY FILED
                         PLAINTIFF )
                                   )
vs.                                )
                                   )                     Removed from:
NEW YORK MARINE & GENERAL          )                     Fayette Circuit Court
INSURANCE COMPANY, PROSIGHT        )                     Case No. 21-CI-01743
SPECIALTY MANAGEMENT CO., INC.,    )
AND PROSIGHT SPECIALTY INSURANCE )
COMPANY,                           )
                                   )
                     DEFENDANTS )

  MOTION FOR PRO HAC VICE ADMISSION OF JACOB T. MERKEL

      Gene F. Zipperle, Jr., of Ward, Hocker & Thornton, PLLC, local counsel of record for

Defendants, New York Marine and General Insurance Company, ProSight Specialty

Management Co., Inc., and ProSight Specialty Insurance Company (collectively, “Defendants”),

hereby moves for attorney Jacob T. Merkel of Gregerson, Rosow, Johnson & Nilan, Ltd. at 100

Washington Avenue South, Suite 1550, in Minneapolis, Minnesota, 55401, to be admitted pro

hac vice. Mr. Merkel’s contact information is the following: 612-338-0755 (office phone); 612-

349-6718 (fax); and jmerkel@grjn.com.

       In support of this motion, and as set forth in the attached Affidavit of Jacob T. Merkel,

admission pro hac vice is appropriate because (i) Mr. Merkel is a member in good standing of the

Bar of Minnesota, where he resides, as well as the Bar of Massachusetts; (ii) he has never been

the subject of disciplinary action in any jurisdiction; (iii) he agrees to be bound by the

jurisdiction and rules of the Kentucky Supreme Court governing professional conduct; (iv) he

has completed online training regarding the Court’s electronic filing system; (iv) the requisite
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fees are submitted herewith; and (iv) Defendants have retained the undersigned member of this

Bar to serve as local counsel in this matter. Also attached is a certificate of good standing issued

by the Minnesota Supreme Court.

         WHEREFORE, Gene F. Zipperle, Jr. of the law firm of Ward, Hocker & Thornton,

PLLC moves this Court to admit Mr. Merkel, as counsel pro hac vice, and enter the attached

Order.

                                          Respectfully submitted,

                                          By: /s/ Gene F. Zipperle, Jr.
                                              GENE F. ZIPPERLE, JR.
                                               WARD, HOCKER & THORNTON, PLLC
                                               9300 Shelbyville Road, Suite 700
                                               Louisville, Kentucky 40222
                                               Telephone: (502) 583-7012
                                               Facsimile: (502) 583-7018
                                               GZipperle@whtlaw.com
                                               Counsel for Defendants New York Marine &
                                               General Insurance Company, and ProSight
                                               Specialty Management Co., Inc., and ProSight
                                               Specialty Insurance Company

                                          In association with:

                                              JOSEPH A. NILAN, MN #121277
                                              JACOB T. MERKEL, MN #0397211
                                              GREGERSON, ROSOW, JOHNSON & NILAN, LTD.
                                              100 Washington Avenue South, Suite 1550
                                              Minneapolis, MN 55401
                                              Telephone: (612) 338-0755
                                              Facsimile: (612) 349-6718
                                              jnilan@grjn.com
                                              jmerkel@grjn.com
                                              Motions for admission pro hac vice pending




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 19th day of August, 2021, I electronically filed the foregoing
document with the Clerk of the Court by using the CM/ECF System, and the foregoing document
was served electronically in accordance with the method established under this Court’s CM/ECF
Administrative Procedures upon all parties in the electronic filing system in the case by
electronic mail including:

R. Craig Reinhardt
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Counsel for Plaintiffs Members
Heritage Credit Union


                                              /s/ Gene F. Zipperle, Jr.
                                             Counsel for Defendants New York Marine and
                                             General Insurance Company, ProSight Specialty
                                             Management Co., Inc., and ProSight Specialty
                                             Insurance Company




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